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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

MARK ADAMS , AV SELECT                          )
INVESTMENTS, LLC, DR. GREGORY                   )
SIMONIAN, WADE HARTMAN, and                     )
FRANK.EDWARD SMITH,                             )
                                                )
           Plaintiffs,                          )
                                                )
      V.                                        )      C.A. No. 18-1330-RGA
                                                )
JOHN H. KLEIN,                                  )
                                                )
           Defendant.                           )

                                        FINAL JUDGMENT

           WHEREAS six claims by Plaintiffs Mark Adams, AV Select Investments, LLC, Dr.

Gregory Simonian, Wade Hartman, and Frank Edward Smith (collectively, "Plaintiffs") against

Defendant John H. Klein were tried in the United States District Court for the District of Delaware;

and

           WHEREAS the Court found Plaintiffs proved against Defendant John H. Klein securities

fraud under Section 10(b) of the Securities and Exchange Act of 1934 and Rule 10b-5 thereunder

(Count I), securities fraud under the New Jersey Uniform Securities Act (N.J.S.A. § 49:3-52)

(Count II), and common law fraud/intentional misrepresentation (Count III); found Plaintiff Dr.

Gregory Simonian proved against Defendant John H. Klein breach of contract (Count VI); and did

not reach a decision on negligent misrepresentation (Count IV) or unjust enrichment (Count V);

           IT IS ORDERED AND ADJUDGED that Judgment be, and hereby is, entered as follows:

           1.      Mark Adams is awarded judgment against John H. Klein in the total amount of

$1,256,742.12;

           2.      AV Select Investments, LLC is awarded judgment against John H. Klein in the total

amount of $972,961.64;
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       3.      Dr. Gregory Simonian is awarded judgment against John H. Klein in the total

amount of $1,297,282.19;

      4.       Wade Hartman is awarded judgment against John H. Klein in the total amount of

$648,641.10;

       5.      Frank Edward Smith is awarded judgment against John H. Klein in the total amount

of $216,213.70;

       6.      All remaining requests for relief are dismissed with prejudice; and

       7.      All parties shall bear their own costs.

       SIGNED at Wilmington, Delaware on        this S   day of October, 2021.




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